

People v Hayes (2025 NY Slip Op 02502)





People v Hayes


2025 NY Slip Op 02502


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, SMITH, DELCONTE, AND HANNAH, JJ.


319 KA 22-01830

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vRAEVON HAYES, DEFENDANT-APPELLANT. 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ALLISON V. MCMAHON OF COUNSEL), FOR DEFENDANT-APPELLANT. 
MICHAEL J. KEANE, DISTRICT ATTORNEY, BUFFALO (APRIL J. ORLOWSKI OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Erie County Court (Susan M. Eagan, J.), rendered October 24, 2022. The judgment convicted defendant, upon his plea of guilty, of rape in the first degree and sexual abuse in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








